The appellants state that the grounds of appeal are that the evidence totally fails to support the findings of fact and judgment, and particularly findings numbers 3 and 9, and that the decision of the trial court is against law.
[1] There was in the record sufficient evidence to support the findings made by the trial court, especially those findings which declare that at the time of execution of the will, decedent was not mentally capable of making a will. *Page 58 
It is true there was a sharp conflict in the evidence; nevertheless, there was evidence to support said findings.
The findings were sufficient to support the judgment.
The judgment is affirmed.
Conrey, P.J., and Houser, J., concurred.
A petition for a rehearing of this cause was denied by the district court of appeal on January 22, 1929, and a petition by appellant to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on February 25, 1929.
All the Justices present concurred.